                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


In re: KeyBank Customer Data Security                MDL No. 3056
Breach Litigation
                                                     Individual Case Captions:

                                                         Martin v. KeyBank N.A., et al., Case
                                                          No. 2:22-cv-01346 (W.D. Pa.)

                                                         Bozin v. KeyBank N.A., et al.,
                                                          Case No. 1:22-cv-01536 (N.D. Ohio)

                                                         Urciuoli v. KeyBank N.A., et al.,
                                                          Case No. 1:22-cv-1598 (N.D. Ohio)

                                                         Marlowe v. Overby-Seawell Co., et al.,
                                                          Case No. 1:22-cv-03648 (N.D. Ga.)

                                                         Samsel v. Overby-Seawell Co., et al.,
                                                          Case No. 1:22-cv-03593 (N.D. Ga.)

                                                         Archer v. Overby-Seawell Co., et al.,
                                                          Case No. 1:22-cv-03780 (N.D. Ga.)


                                 NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that, in compliance with Rule 4.1(c) of the Rules of

Procedure of the United States Judicial Panel on Multidistrict Litigation, Richard W. Boone Jr.

of WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP hereby appears as counsel

for Defendant, OVERBY-SEAWELL COMPANY, in the above-captioned action. Service of

all pleadings, notices, orders, and other documents required to be served before the United States

Judicial Panel on Multidistrict Litigation should be served on counsel at the office address stated

below.




276991244v.1
Dated: November 1, 2022

                          Respectfully submitted,

                          WILSON ELSER MOSKOWITZ
                          EDELMAN & DICKER, LLP

                          /s/ Richard W. Boone Jr.
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                          Attorneys for Defendant Overby-Seawell Company




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                                  CERTIFICATE OF SERVICE

        I hereby certify that, pursuant to Rule 4.1(a) of the Rules of Procedure of the United

States Judicial Panel on Multidistrict Litigation, on the 1st day of November, 2022, a true copy of

this Notice of Appearance was filed electronically with the United States Judicial Panel on

Multidistrict Litigation CM/ECF filing system, which will serve each of the parties to this

Multidistrict Litigation electronically.


                                             /s/ Richard W. Boone Jr.
                                             Richard W. Boone Jr.




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